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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

JOHN DOE,                    §
                             §
      Plaintiff,             §
                             §
v.                           §                       CIVIL ACTION NO. 9:19-cv-00006-KFG
                             §                       JURY
STEPHEN F. AUSTIN STATE      §
UNIVERSIT, STEVE             §
WESTBROOK, Ed.D. IN HIS      §
OFFICIAL CAPACITY            §
AS INTERIM PRESIDENT, DR.    §
MICHAEL WALKER, INDIVIDUALLY §
AND DR. PEGGY S. SCOTT,      §
INDIVIDUALLY                 §
                             §
      Defendants.            §


                                NOTICE OF SETTLEMENT


       As directed in this Court’s Order Governing Proceedings (ECF No. 13), Plaintiff notifies

the Court that the matter has settled and appropriate documents will be filed as soon as possible.


                                             Respectfully submitted,

                                             TATE MOERER & KING, LLP

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                                CERTIFICATE OF SERVICE

        I certify that on May 18, 2019, a true and correct copy of the foregoing document has been
forwarded to all counsel of record herein via the ECF system which will automatically serve same
as identified on the Notice of Electronic Filing (NEF), to wit:

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